USCA4 Appeal: 21-7153 Doc:8 Filed: 09/13/2021 Pg: 1 of 21 c

UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCE
INFORMAL BRIEF —s
No. 21-7153, US v. Joseph Guadagnoli
8:13-cr-00363-DKC-1
1. Declaration of Inmate Filing URTT
An inmate's notice of appeal is timely if it was deposited in the institution's internal
mail system, with postage prepaid, on or before the last day for filing. Timely
filing may be shown by:
¢ apostmark or date stamp showing that the notice of appeal was timely
deposited in the institution's internal mail system, with postage prepaid, or
e adeclaration of the inmate, under penalty of perjury, of the date on which
the notice of appeal was deposited in the institution's internal mail system
with postage prepaid. To include a declaration of inmate filing as part of
your informal brief, complete and sign the declaration below:

 

 

 

Declaration of Inmate Filing

 

Date NOTICE OF APPEAL deposited in institution's mail system: 4 \O ooK

I am an inmate confined in an institution and deposited my notice of appeal in the
institution's internal mail system. First-class postage was prepaid either by me or by the
institution on my behalf.

I declare under penalty of perjury that the foregoing is true and correct (see 28 U.S.C. §
1746; 18 U.S.C. § 1621).

( 5 _. .
signature A dacl SJoCHO? Date: | 10 JON
[Note to i e filers: If your institution has a system designed for legal mail, you must
use that sy, in order to receive the timing benefit of Fed. R. App. P. 4(c)(1) or Fed.

R. App. P. 25(a)(2)(A)(iii).]

 

 

 

 

 

 

 

2. Jurisdiction

Name of court or agenc from Ww, which review is sought: a
SVis hier Cogs Qa _@ Ze en)loz oil =

Darts) or odder ar or ‘orders for es review is sought:

Tol y- 19-20

3. Issues for Review

Use the following spaces to set forth the facts and argument in support of the issues

you wish the Court of Appeals to consider. The parties may cite case law, but

citations are not required.

Issue 1.

  
USCA4 Appeal: 21-7153 Doc:8 Filed: 09/13/2021 Pg: 2 of 21

4. Relief Requested
Identify the precise action you want the Court of Appeals to take:

Kesonreice Defenbait 13 Time Sepvodl
With S Yeses Superusron),

5. Prior appeals (for appellants only)
A. Have you filed other cases in this court? Yes [4 No [ |

B. If you checked YES, what are the case names and docket numbers for those
appeals and what was the ultimate disposition of each?

Lr cigevir cont = 1.0-DWHY-OC4H/ Filed apt (8 se
OF aApreals Peay 2XD>

Sy My eee Solo O03?

/Sighature
otarization Not Required]

Jes eph Gy Mona nol:
[Please Print Your Name Here]
CERTIFICATE OF SERVICE

RKRKKKKKKKKKKKKKKKKKKEKE

I certify that on FJ [io | a&l I served a copy of this Informal Brief on all parties,
addressed as shown' below: Clealkk,
US Covar oF APPEALS Foun Cieeuit

|, CO (fase WaAmN st c 61h F loom
ichmen VA 23219

NO STAPLES, TAPE OR BINDING PLEASE

 

 

 

 

 
VAG Mob DEES Cobley e9 1821/4 Poeiay S FoR TUE
Buarth CiRCovoLT
UNTTER STATES No. dl- 7/5 2.

V
| esc hh G vapagno|

%. \or 7

§:13-CR-00 363 DKC-/

 

Trumewal BATEF
Memo RAND VW

Respectfully , Jeseoh Goapacpol Comes Kee - 3é€
‘pefere The Ca35xt Tw Plea The Folloing / ASSOMUX of
Covkse thar the Covar Was Revieyseck A of the FReuiovs
ROD Pear( Went inFsauaTiew Concern. Na Tus CASE.
Tn Dewy ire 4 Mot pw Foe Co WRASSE) 2 OATS Release
L believe the DistZice Cover ove we look eck Wo TR warty Cesve.
AND Fourmarions of . E x reaodineny fes1D Compe | ky" Reasons While
ADRES Some SuPfoating Facto?’S Thar MADE v0 Lyra er Prepu ge -
Tr iS wy Sincete hope Thar Ths MewaRanDom vill mevye The
Covir pro Shed Light on The Ciacum stances That €FFect
me AS A Hemad Thar Deseaves This Covats Comp ASSioN .
5S purport Schooleh (ns The Aer of Law Au will Rely on
Some oF the 2xP22T 182 Cewt by Cova sel Sic; [ia Eng lont
IW m4 Caper MaTIONS , w. lh ATTe pC TO Keen Ths belo
As £ Feel ThAT The TSéves have bee, Competent! Covered
by Hea hopertye The Tssves of Mp Concapas SBantah
> have been overlooked oe Nev Anpmssed iS The
Disrl<r CovtTS Decision), be WW; The Caveats OPN-Ms
A CASES Such AS “US V. Green, (THC-10-76! Reap US DIST. Lexis
4q7ioi, D. Mp Jeune 4 jose) “PaAroPmec. hay SuFiciently in COcasech
The seven OF The Senreyce beyond Whe WAS Of14 mi (ly
Anmeipared Suck, Thar the Poaposes oF SewTedcimg AAE Fully
USCA4 Appeal: 21-7153 Doc:8 Filed: 09/13/2021 Pg: 4 of 21 4 2 of ¢

MeT even With rhe PRoposel Reductin’ UYS.V. PARK No. IG-
C@ 60473 ATG F SUPP 3D 557, 383005 PNY. Kee ay 030)
Wotitg thar A SeuTence “Thar WAS SUFFI Clear bur Nor GREAT EE
— Necessmty May Noo O Lghe of Gulo~i4 become

One immeAsaAbly GREAT EA Tha Nec essay © US v. Kibble”
OIF. ZA SIE S34 CA Cie AoW) “Them (5 Goon Reason)
1% bel: eve. Thay, in) Some CASES A SeAT4rCe Thar Ws’

FV OF Crear bur Not GREAT YL Thhnj Necesrn befor The CoRendé -
Vidus PALDE MS May No Longin, Mee thar CaireRin, A Ddy
pre: oe Uber The cv eR eAT Compras i Sa Ov Al irAty V ely

d Aw TY Pe OP Push mer Thaw ome DAcy (OBR sonJ
use TO be . TN These THWes, Veasry calle A CRemeAn “
(50. Ar 335- Clas cy Cy Concurring) AS Wek AS
VS V. Harches” / Noe iB-¢cR-YSU- fo Kpt CSDNN_ AALC 14
a091) GRaviw, CompAssiauate Release Jo A PR sx en Whe
Kray VACCrMAd Paws” Cave AG because The HARES Ky
Con dittons eF TNcapcedrias DuQw, he Courp -(& Hasooane.
~ INcluditg CAck of Mean health Cake BUD Dave Aluce.
TRA Men ~ CEetSp- Tore “¢ ATIRAORDy 3 AAey AMD Comael Ibe, *
Reasows Fox, Gmoasshau are Release J

(The "BoP No Longea Sepves ih (t's CAoacn AS AN

ENST TUT aS aF GRewt Awe it 'S PE VC ry has Come Aw)
IMpediment to The Goale of ReWabilitarod  Thes SenTerce
has became Oxcessive Qh exceede The Sentence ( Posech
IN Terms oF Punitarve wedcuees while Ovaiwrcddn The
OPPORTUNITES fer Goow Healt Eva Teasoral GRowrt
Daeg Abvse Ploy rduutiny MOD Mer

‘ ‘ TOROS PRe wotion) WiTh WwW
he Syste PIP MoperntT TD “Lowee FAakres Thar Allsvo

berry oppeeTinunies foe ADVANCE ALD Gently |
loluile The Govern mec holas Tet my iC) plea vs
A Just Anup Biboikg Cnumacy TL Mig he Suggest thar The

4
| 2
USCA4 Appeal: 21-7153 Doc: 8 Filed: 09/13/2021 Pg: 5 of 21 Pe.30F 4
WRwomey1 ‘Lock ans ©
Alene Epvieament The “Lock rouns

CAcK of Benes (Regan begs the Re Lraniwrriy) of the
Revo Teams. Werk All Dve Kespeer—

STARE Shoring es (rkAD

my health Conniwes To DereRrocate The Flast 1G mMearhs
oF leclk Deu loefele The Ad Vent of VACtwes FT Ws Neglected
{ (

by Meckical sTafe Fearbul of INRRQACHMS WA Tiimates As
Cubonecy by The Gan iN CARe Reflecres jd wy Medical KeceZos
This Necdect hao 4 Visa SeRous SPP ae iis Physica
Heal | NM though, Thing 6 have Sou Whar impoved As Gag

AS BTTennas goes (> (5 ees DFA cule Ar my ge (SO)
To Reveese these Accomvlared issues Wher Wy Motion
WAS henen by The Distaer Covet The CouD SirvanaJ
WAS WWPhaume, VAC Hes Were Auld able AUD the Nomen 3/
VDearhs pele echiafle iT WAS A THe of hoee , Unroemalart
Thus Vawmeuic WEKES Arp Whses Arp As LL WRive reg J
Weeead thepe cs 4 SUREe WS The Delta (ALA 45 use| |
BS AM Ub tick i MPPLAWEE oF Man STRAW ,
lacing W ARWeck OF Arotgn HokRo® Slows | scly ran ovg
The ups VACCiAT of This however Hee s Wot
YF wil Wet be ere

“o CTéD> AS A Lay efLC oF Bo
STAFF STIL ReSUse TD Ace sit (eA Conag r

E hh gv B® FREE’ SAFE Vacciie. DL caw)
Mone yee “ws i" Benes vie Amp Life iNreReupred awee

- + Cell Solari (oor Toop AND Neo hope oF
Hoa aa wi

Ce Due Teo stAgC Shortages Awd SAT 2, WMeASiRes
Thi S PArdDemfe his 30

Why Collatedal CUS jrys
Mo7- hé ok J . , /

5 Whe Age (MN Feere} | A PER sean
Whe iS AS VulNewabl

€ AND Depenpant- As t PW CAN
RvorD The ViRvs
L Reg uesreak

Yer still Sere, \mmensely ,
a Pe ar My Mehiaal Recoeos F ROW
JOR LOH VA Url PRSEAT So thar Maobr Show
Th ae Wr 5 i TUAT, oJ ha 5 Nat ) MPs Ved J 4

owes (ch (> Wale
be Monrc befoeo TF Recieved th Cay -
USCA4 Appeal: 21-7153 Doc:8 Filed: 09/13/2021 Pg: 6 of 21 Fr Lf oF F

T DoD Howes ts Phere cope A Pease: prio Label Foe
Med.catiosS TE Was Recenrly issued. As This (s A Geum oF
Moor url Recon , de hope [he Conar wi l| AS Cow Si 04g Thus
Newly De velaped Bo yen (see ATTAch Mer TT)
AS T WAS Allowed Wore Rec Reatard Time GUTS Re
= Tock. ww WAL King LAGS 10 hopes oF Shedd i. Some of
This €xcCees/ve Wes gw. L bee AW € K Peps enc j iNCLo cd bale
Taw i me Righe Foor Bloom _lésts Were Dawe ANO |p
WAS Dereemiwed thar I have Govt" A SyNPRome “Thar _
is SWoxhr Moor loy obesiry | Se DENT AR. Ue Style (Lock Devs}
Awp Geom Det - THs, Condition iS Very PA wEu AIG
NAwpeps Ww Alo \icy TR Creaciee lose Werg lar AND become
Mops Heal Ney Uy 1S Aa OEAL, ‘Obui ees TR Me tTha- ££
Am TRaApped “IN A Negarve Feen back Loae Where peob ens
i WATS SNe all Ar Ths foi
Covip -¢ [5 Nar AS FRiaaren a T We AS the

DerezioRatiad Thar DF Awe Erp Ricnciag .
btw blessed to have A Quwac:

: "4 Suppor Gea
OF Fri cple Aas Faw ly Thar Wee Willing VO Ensure
ny SvClesseul TiLAUS tin) Wirt. Hous, ay Raps Oonren ak
Euraloy MLS ; Comseling AOD Mechel CAR | Near only 15

This FAR. Sepenren, To The Lives I See Crbhers Ga
hone TY iT (S$ UN Deviabl J u hase

/ The besr o YR;
Even h rw 1K me C.Fe J ("e _
Reap, me PSR Yoo will ior
Via IN stable ve DRirene whic Lech eres:
(WD SY nN LEK STRACQ EE
Ate hon {; My | 2 DAve Ler: L is th
Siadup While, Sree RS DEA ev ws 16”
a4), re Ube PRessure TS ( Rovioe AW (y Succ eae
LTPP Commer Ceimes . Please pore thar hee

Govenumeru- Corcedes Thar theeo Were Non -Usolenr IN
USCA4 Appeal: 21-7153 Doc: 8 Filed: 09/13/2021 Pg: 7 of 21 P5.57 FF
Thee wo Arvae /AKD Most Recieved PRebAr oJ oR

Sheet Cov Jal Teams. 1 Sy this Met TT Dimiushk
OR Minimal Se we history, ber To higla Lig bt The Fact
Thar New ar aac So LD pac A chauce’ TO Focus

OV" Mu Sele loiter The (PUY of STRess OC Suppokiraa

A Faws ly . Loh The holo Ay Fannily Puy Fiend.

Chas Loe. on building A (20 WAR DIY Leal Cife Fae

Me sek E Fuethen. meu edvcar a) cee A Raa( Doce.
MSS Dears, Eynaup my hortzod (uM A Whey Thar
Well Allo ME 1 MANA hag Libary AWD Contipwue
The Roce ss of MA ae Chiend)« TO Me Chi ldasr AAS
Ctheas Lepr bahind her IP SUPE eZe| The ComiSequences
Or me Tw plsive be hauieur< My rse States iN
AP 6 Thar > WAS Pidgne seh wi rte twyolse Comtra|
Dis CRPARS AND thar ~s Sipean' ow WAS Cer UN TReAred|
IT Woaper, where D Worl be Neve hap Things been!

DoF Peer Tt Reyeur Thar T have hele The bdo Ap
thes Abavosved Was Pau) Pry Fede |

T have (Wty g TRiecdh Tp A Ccxpr RES Ponrsilae bit

PUD New Blane orleas _ DT have AlwAgs Plero Guilty AND
Accepred The Covers Mec AWD Judes WAT TT lave
Neve. Vict mi ved Pay on € Ap Ww OV AMER ity Was Ealosweet
Me With A Sense of Em parte Foo TU Amy .

“There SuiIl Remaius A Five Yat SUP PPS OA
Pepise Uhepe the GOV 224 Want will lage Able TO Wo ror
my PRoa ress (ie) VRwre SAmoles Ew playmenr gh Ali (ory ALS
HouSstey
“aC iha : ile : < it PG rz
USCA PPP EAe! Bee Loar iS IS SINS Fc alee tech Since 4-37 3013

- This ts E xActky A YeAds Exceat Fon The Leaow of The
ConspinAcy All oF the make Colerble co-DeFenpaure Ake
OCT AvpD Living Then Lives. Thee 1S Muck. D 4

: ~ Desare
herweew the Goverment fwD Self Aloo Whert
- U;( FENET UCT
OR Ner CReor FoR. Time S€RVeEQ p53 CA Paan (A E ~
Conduct Direct Qo! AT?) TO The Ducme < s
Deseayed — J StH OTF erg (s
co. The DiStRrer Couay IN (T's GD:

Thar The public Would Nor be “Seavey bon ed

A eo World Nort he SeRveq by sa DRasr:

i “De yg Redoerrons 6 Ths Pea IS Lls0 Challeg i

Vv. Kibble 4 35. CFd ZIG, 234(4™ CiRWwi> 38a)
- VY it On
A Sentences Reckoctions (S Nor (uc MA SESTAME 0 (reR

_ : _ v (7

The 35°75 3(#+) Factors, Solel laecrnse AS INC ARCeLaT At

> : ‘ ° ve
C/isow has chy Seaved A Smal Rano af Lis Senreneg “
IU eNe
Exe iF The Gov eRmmoaar (5 CORRE cy IN DP .
CRadis~ Far Tete duly Steve wy”

d Ap ete q uN
Dare oF Mas SLAT 2 Co % Dec a robsrs The stan.
thar Does KOT Dimwuish | We been WW Cusroo
the Lesses I hAve hao 1 ACCEear PYyp +h Dean eARNIAG »
MAS OCCined Dering tte ~ “€ CRow rl, Thar
‘ “Ss Per ep . T have ST RuUac \ a
Keeae Relarian shy udlnea Dora” Rugg led T
es \ Possible AND Kesrapset pe
TO Dery the Gland weil. Awp | oy ee OT
a : D iar owing re soll ivO hopes
OZ Furupe Retosciliarvad MAE J 6
Poor We Amends AND See
thoes 7 loved AnvD los as welt
L ee 9 Well As thees Whe hae ~Se0
ef Me 1S The Masi Dine eetair Goal T have ow . Me
Chil Agen Ape ADUTS Now AO we All Deseave A Chance 4T
A Yew beagivwing . M4 Greatest Fea~n (5 Thar DT WI become
So D's thled AS TO become A borden Once TC AW Release
The KeisTo me TURMing My health cssues Around Ate
USCA4 Appeal: 21-7153 _Doc:8 _ Filed: 09/13/208) Pg: 9 of 21 Pat. of F
Nor <o orp jN The (Solario) of A Cell of& thre

STRyoteaw Comme. Seaved Theouge WW PORT IN the cell Rue

There CS Aasclurly Neo ReAsad To belrere Thas Regurperr
ME TO Serve the Comawoe eF This Sentence Wovlel
Vvathen Achieve The Goals oF Setuas 35534) fu
PACK The Dereg “ry Bhyscal heal pyr merre(

Na vish Cayce, .
dram By Ths Seady 1S excessie Asp

5

Re speatully Svlombirecl ,

Jecesk GUase yl)
ye l 7 &
Sap he het ° 7 : O° e

(
. USCA4 Appeal: 21-7153 Doc:8 Filed: 09/13/2021

Po: AAR I WwoeAtT 1
Frage (oF &

The Fel loutney iS £4 Phewe Copy of A Naoly
(ee sca heel Wed rcive Fon qhe Reamer of Gou v,
LD have Never C¥ PeQiencol Thig Dis aoe Nak.
have T eveaz Felr Such PAW.

Wis Dis EROZL 15 boule Alsou lay De Dente rey
Lifestyle Obesry AUD Ror Dier

by ‘he ChAce of Ws Conu- (Weg ae Chniye
A\l -theee Facrers Aup INPRore Hy hysicat
CoO TION Wir MeRe Oyepctee a reg. Foss

Aus A Complexe Life style chase
i
Bol Q

t
ec

FAce

ATTACK WMent-

Filed: 09/13/2021 i 11 of 21

Doc: 8

USCA4 Appeal: 21-7153

Central Fill Pharmacy-Pollock — BEN-B44-1271

===GUADAGNOLI, JOS

 

=a
_—_
[=

==Colchicine Tablet 0.6 MG

meen (9) Refills — ogisi2024 PHM — Refill Until: 08/16/2021

=| 000 AIRBASE RD, ADMIN BLDG, POLLOCK, LA 71467 ——
== 739715-CP1 Ramsey, v_ Gnp-pc 08/06/2021 =
EPH 57064037 ==

=— lake one tablet (0.6 MG) by mouth
=—three times daily on the first day -
=SSthen Take one tablet (0.6 MG) by
ae 7 as =

== Mouth twice daily until gout flare
==—'esolved - stop taking once resolved

MATAR

= =#721 TAB Don't Confiscate Before: - 1104/2021 a

CAUTION: Federal /State law prohibits transfer of this drug to any person other than patient

for whom prescribed,

      

TA

Do not take other

=a medicines without

eS checking with your

a doctor or pharmacist.

Capsule-shaped
\BLET Purple G02

 
. USCA4 Appeal: 21-7153 Doc: 8

Filed: 09/1 1 TTAC MEN T TIT

Page. [er 4

Nobe| FRize WJ . Ng Sige [Savy Were
Cob Dy las 1S Reccewizecl AS A Masre2. oer As well
AS A Ciyil Kighrs (CoN. His Music. has IWS ‘2ec\ Wie
From AL Eaal Age , iN FAcm pr has Taken VP
Much Space IS The Sondraacke of my Uke _ AST
WwRote Ths ApPea( T&A ms Cae oY My MP 3 Player
a Soh ey LE Cmsieeg2 Tr be the Avothem 6 F
ComOAssions. Tr vs Absraact AND Molr-facetect.
Being Mowrbed ho the taskat Con sT@uctine Thus
“Doc uUMmeu- The POM STRuode me iV we Enmornad WAY
i suddenly Realiced Thar Compass: a iS aT -
Legal com Situct TL Arrewt Ted To AND it's Delaigrion)
is LACKS LAW DIcTOSREY ALD Lr was Nom
To be Fong, Web sre ay Unalatideed DeGres iT
Thus | Comgassiod N. A Feehang oF Deeg
Sympathy AMD SRW for Pn
INho (Ss STRICKEN by WuskeenVe ,
AdCan pani eQ by A SIR Desee_
Te Alleviate The Sumfepime _
MANY Times PRevously U AtTemsred To & |
al iJ
To FACED The PRopee Leqnlese! TD Sw Te We led
This Does New MeAr thar LT Ve Nor Meir Conaass ia!
iT Medws -C Am MoT A Lawyer. ONE Thing L DIO
Leaan 1S Thar A Compass aware Release ould be
GRANe | Desp we MANDATORY Mii moms , Pero. Hi STOeey Life
SATeACES , Oo Tr me ReewAnuitg iW A SHTML Ce | Whar Mares
i> TO Com pechr Wette Another VMAS t ey i Whe The.
AvUtThearity Avp VUDELSTAMD NG 1 MAkKe A Di fFeRatce

 
_ USCA4 Appeal: 21-7153 Doc:8 —_ Filed: 09/13/2021 Pg:A#Béehre” 717. PAge Doe 4
Con) Ver Your Plan Yor RemoRSe we
Repenrance York Hopes (AWD VOOR Woah .
AM SurFeping  T have Lewvedk Alor iN NINE
Years Au TC beg Your Howae TH Allows me
The epee “ Build A berreg FoTMke |
My S (trv ATI aH ) Wehe L TO (eAr iA This
EnviaowmetT i$ Bleak Ar The SAme The The
“PRospecr” OF Success is Ar vey Fugees |
Phoned Thar LT Take CAee TO fu lel | the News
OF A Heals Thy Boy Avo MwD.
TT hope L hawe Genver/-eo MY LOORT
T UND STAND This Is UNOReDX, I AW

Rumw.ng OUT oF OPTANS Awo WeERDS To e\. press how
Dire Ths iS becomminicy,
YSGAE Appeal: 21-7153 Doc: 8 a Filpeh. OMAPAC com PBI Alyson Page FoF 4

“A Hard Rain's A-Gonna Fall" lyrics

Bob Dylan Lyrics

"A Hard Rain's A-Gonna Fall"

Oh, where have you been, my blue-eyed son?

And where have you been, my darling young one?
I've stumbled on the side of twelve misty mountains
I've walked and I've crawled on six crooked highways

I've stepped in the middle of seven sad forests
I've been out in front of a dozen dead oceans
I've been ten thousand miles in the mouth of a graveyard
And it's a hard, it's a hard, it's a hard, and it's a hard
It's a hard rain's a-gonna fall

Oh, what did you see, my blue-eyed son?
And what did you see, my darling young one?
I saw a newborn baby with wild wolves all around it
I saw a highway of diamonds with nobody on it
I saw a black branch with blood that kept drippin'
I saw a room full of men with their hammers a-bleedin'
I saw a white ladder all covered with water
I saw ten thousand talkers whose tongues were all broken
I saw guns and sharp swords in the hands of young children
And it's a hard, it's a hard, it's a hard, and it’s a hard
It's a hard rain's a-gonna fall

And what did you hear, my blue-eyed son?
And what did you hear, my darling young one?

I heard the sound of a thunder, that roared out a warnin'
I heard the roar of a wave that could drown the whole world
I heard one hundred drummers whose hands were a-blazin'

I heard ten thousand whisperin' and nobody listenin’

I heard one person starve, I heard many people laughin’
Heard the song of a poet who died in the gutter
Heard the sound of a clown who cried in the alley
And it's a hard, it's a hard, it's a hard, it's a hard
It's a hard rain's a-gonna fall

Oh, what did you meet, my blue-eyed son?
Who did you meet, my darling young one?
I met a young child beside a dead pony
I met a white man who walked a black dog
I met a young woman whose body was burning
I met a young girl, she gave me a rainbow
I met one man who was wounded in love
I met another man who was wounded in hatred
And it's a hard, it's a hard, it's a hard, it's a hard
It's a hard rain's a-gonna fall

https://www.azlyrics.com/lyrics/bobdylan/ahardrainsagonnafall.html
1/2
USCA4 Appeal: 21-7153 Doc: 8 Filed: 09/13/2021 Pgh FEST 22  Paae 4 oF Hf
et 12:1 Bob Dylan - A Hard Rain's A- Gonnd) Fall Lyrics | AZLyrics.com

And what'll you do now, my blue-eyed son?
And what'll you do now, my darling young one?
I'm a-goin' back out ‘fore the rain starts a-fallin'

I'll walk to the depths of the deepest dark forest
Where the people are many and their hands are all empty
Where the pellets of poison are flooding their waters
Where the home in the valley meets the damp dirty prison
And the executioner's face is always well hidden
Where hunger is ugly, where souls are forgotten
Where black is the color, where none is the number
And I'll tell and speak it and think it and breathe it
And reflect from the mountain so all souls can see it
And I'll stand on the ocean until I start sinkin'

But I'll know my song well before I start singin’

And it's a hard, it's a hard, it's a hard, and it's a hard
It's a hard rain's a-gonna fall

Thanks to Tim Coonahan, Lorin Mannella for correcting these lyrics.

Writer(s): Bob Dylan

Copyright © 2000-2021 AZLyrics.com

https:/Awww.azlyrics.com/lyrics/bobdylan/ahardrainsagonnafall.html 2/2
USCA4 Appeal: 21-7153 Doc:8 Filed: 09/1 g: 16 of 21

/2021 P
TAC Ment TI lors

The Gllewiry Fore Pages Rep Resent

the EffSars af cUR Datsr DR, Alessi Whe
Suggested) A Mouth GeARO TO PRevew~r W eA AND
Teaag on My Teerh , He SHO IT WAS CRirica YO
Testecr Fean Fuarkk2e Eesions AD ugqesree
Womight pe 4 Sympron oy SrReSs AUD MIWery
OCR pes While Asleep |
- The ‘Sof Kis Dense lis Peg esr AWD
= “— Named Thar The on 4 Deut cee
Tomight expecr ws Euteggonc Ey CaAci aus
T1 has beens \eaes Site F héAve han 4
Rourive Cleew a ae Ayramieno “EZ Wave
hud Me woth eximderee
USCA4 Appeal: 21-7153 Doc:8 Filed: 09/13/2021 Pg: 17 of 21

ATTACK wour TV ol oF 5

BP-20148 THMATE REOURST TO STASF chrm
TOES 10

 

 

jime e nas t zee BG |
i Taseph Gu f =a  SFoGY =e St
WORK asstcman?: Kon IZ care ASY Cl ld

SUBSECT: (Briefly stets your question or concern end the splution you ere reqvesiing.
Continne om beck, if pecessery. Your feilnre to be spe cific may result in no ection being

 

teken. IF necessary, you will be interviewed in ordex to stccessiully respond to your

meee EE ats Hore ib Bex Pe CaP of Vow
Rec comond xT Gen Whee Ye Corre’ Zopreo aural
“tho o's “Testor! m penenc — Ar
Prd rhe Oro 25) 57 A Cam QASSICN ATS.

Oh bod gp Shes Ay mu Howlin CAR o
= Us apttA— Eve A. Whur Goat PRstcE oat
Taree 200. A wood Fer CAR the Ea
Ss at PY RsaI CAR. Thess Warr Sas Cnn
hax © Quality Ay [ [Le Dypeacty.

(Do not write below this ine)

 

DISPOSITION:

Weed lo mele Mats request do medical
(2ag tt can not Gwe sou “his walounahan , bot

“A is your medical fecovd andit can be requested
thro Medical fecads

 

 

 

“C, Signatu Scalt Member Pay .
: SCO qj 21.
. Record Copy — PAle;?: Copy - Inmate ! F

DINE Prescribed by PS511
 

USCA4 Appeal: 21-7153 Doc: 8 Filed: 09/13/2021 Pg: 18, of 21 TT
Bureau of Prisons
Health Services
Dental Soap/Admin Encounter
Inmate Name: GUADAGNOLI, JOSEPH Reg #: 57064-037
Date of Birth: iy Sex: M Race: WHITE Facility, BEN
Encounter Date: 07/28/2021 08:53 Provider: Alessi, M. DDS Unit: B41

 

Reviewed Health Status: Yes
Sick Call Visit encounter performed at Dental Clinic.

SUBJECTIVE:
COMPLAINT 1 Provider: Alessi, M. DDS

Chief Complaint: — Grinding Teeth
Subjective: Wear of front teeth
Pain Location: Tooth/Teeth
Pain Scale: 0

Pain Qualities:

History of Trauma:

Onset: More Than 1 Year Ago
Duration:

Exacerbating Factors:

Relieving Factors:

Comments:

OBJECTIVE:
Dental Findings:
Tooth
#8
Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)
Tooth
#9
Abnormal Finding(s) Noted (Clinical Observation/Findings)(yes)

Inmate presented to sick call with issue that his front teeth are wearing down. H&N exam WNL. OST
WNL. Clinical exam revealed that #8 and #9 are wearing due to attrition. patient bites edge to edge. It
had been suggested to him that a night guard may help. Plan: fabricate a night guard.

 

 

ASSESSMENTS:
Abrasion of teeth, K031 - Current - Attrition 8 and 9
Temperature:
Date Time Fahrenheit Celsius Location Provider
07/28/2021 08:55 BEN 98.7 37.1 Forehead Alessi, M. DDS
PROCEDURE:

Dental Procedures

Dental Procedures In Process/Completed During This Encounter

 

 

Tooth/Area Procedure Status
#8 Examination, Limited Completed
#9 Examination, Limited Completed

Generated 07/28/2021 09:23 by Alessi, M. DDS Bureau of Prisons - BEN Page 1 of 2
USCA4 Appeal: 21-7153 Doc: 8 Filed: 09/13/2021 Pg: 19 of ATT 2f'x 4
) Rchimony TZ 4
ee S

 

 

Inmate Name: GUADAGNOLI, JOSEPH Reg #: 57064-037
Date of Birth: Sex: M Race: WHITE Facility: BEN
Encounter Date: 07/28/2021 08:53 Provider: Alessi, M. DDS Unit: B41
PROCEDURE:

Dental Procedures

Dental Procedures In Process/Completed During This Encounter

Tooth/Area Procedure Status

 

 

Procedures Added or Updated on the Dental Treatment Plan During This Encounter

 

Tooth/Area Procedure Status
#8 Occlusal Mouth Guard Fabrication Not Started

 

PLAN:

New Consultation Requests:

Consultation/Procedure Target Date Scheduled Target Date Priority Translator Language
Dentistry 09/28/2021 09/28/2021 Routine No English
Subtype:
RCD Review

Reason for Request:
Night guard.
Provisional Diagnosis:

49 yo white male. Positive medical H/O hypertension and hypothyroid. Dx: severe attrition of #8 and #9
secondary to edge to edge bite.
Additional Records Required for Consultation:

Progress Note(s)

Disposition:
Discharged to Housing Unit-No Restrictions

Patient Education Topics:

 

Date Initiated Format Handout/Topic Provider Outcome

07/28/2021 Counseling Diagnosis Alessi, M. Verbalizes
Understanding

07/28/2021 Counseling Plan of Care Alessi, M. Verbalizes

Understanding

Copay Required: Yes Cosign Required: No
Telephone/Verbal Order: No

Completed by Alessi, M. DDS on 07/28/2021 09:23

Generated 07/28/2021 09:23 by Alessi, M. DDS Bureau of Prisons - BEN Page 2 of 2
Bureau of Prisons
Health Services
Consultation Report

 

 

 

 

Begin Date: 08/01/2019 End Date: 09/09/2021 Date Option: Date Ordered Reg #: 57064-037 Inmate Name: GUADAGNOLI, JOSEPH
Complex: N/A Facility: N/A Units: N/A Current: Consultations for current inmates based on the criteria selected.
Status: N/A Requestor: Alessi, M. DDS Priority: N/A Levels of Care: N/A
Consultation: Dentistry Sub Type: N/A Location: Onsite Staff Consults: All Regional Review Required: N/A
Reg # Inmate Name Fac QTR Consultation Subtype Requestor Days to
Status Order Date Scheduled Target Date Scheduled Date Sent Date Results Date DC Date Complete
Priority Levels of Care
57064-037 GUADAGNOLI, JOSEPH BEN B41 Dentistry RCD Review Alessi, M. DDS
Disapproved Ord:07/28/2021 Target: 09/28/2021 Sched: Sent: Results: DC:
Routine : Level of Care: Medically Necessary - Non-Emergent
Count: 1
Total Count: 1
**Days to complete is calculated from the scheduled target date minus the results date.

Generated 09/09/2021 09:32 by Jasper-Armstrong, Stephanie HIT Bureau of Prisons - BEN Page 1 of 1

SG\LZ-L2 seeddy pyosn

g 700q

AN AWY MELE e 64 Lz02z/€ 1/60 :Palls

a

GIS
| w oxeph Gvadiert se OG Ose
Fepeoal CRCECTION  Tusrrnn
sy 53004

| Teawersville, SC O9ISTD

 

Federal Correctional Institution

<"§ Muckerman Rd,-Bennettayille, $.C, 29512
Date: =AaZ/
7 sed letter was processed through Spei¢al Mailing

i for forwarding to you. The letter has been

; sd nor inspected. If the writer raises 2 question or problem over
facility has jurisdiction, you may wish to return
1 for further information or clarificaiton.
sr enclosed correspondence for forwarding

tu ...2 addressee, please retum the enclosure to the above address.

EAL
Adem
